Case: 1:15-cv-00210-TSB Doc #: 2 Filed: 03/30/15 Page: 1 of 4 PAGEID #: 44

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IN THE COMMON PLEAS COURT OF BUTLER COUNTY, OHIO

CIVIL DIVISION
Sjied Butler CO.
Agyrtat Commat Pleas

DANIEL J. CLICK nec - £204 : CASE NO.:
1240 Stahlhever Road saat. wait
Hamilton, OH 45013 ve necauts : Judge:

Plaintiff, : COMPLAINT FOR PERSONAL

INJURY; JURY DEMAND

vs. . : ENDORSED HEREON
SMITH & WESSON CORP.
c/o The Corporation Trust Company
Registered Agent
1209 Orange Street

Wilmington, Delaware 19801

Defendant.

FIRST CLAIM FOR RELIEF

1. At all relevant time, Defendant, Smith & Wesson Corporation (hereinafter “Smith
& Wesson), manufactured handguns and authorized the distribution for salé stfid firearms within

the State of Ohio.

2. On or about November 17, 2012, Plaintiff, Daniel J. Click, took his Smith &
Wesson Walthers PPK/S (.380) pistol from his holster and the gun discharged, without Plaintitf
touching or pulling the trigger, and a bullet entered his left palm, and existed the back, despite
having the safety secure sustaining injury as a direct and proximate result of a dangerous and
hazardous condition created and/or perpetuated by Defendant, Smith & Wesson or known by
Defendant to exist, to wit: defective safety lock mechanism.

3. Defendant, Smith & Wesson, has known for years and had many complaints
regarding the subject pistol, made from 2002 through 2009, and did not correct the problem or
otherwise warn the public of the defective safety lock mechanism. The aforementioned conduct
by the Defendant amounts to a flagrant disregard for the safety of the public as defined by Ohio

EXHIBIT

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Case: 1:15-cv-00210-TSB Doc #: 2 Filed: 03/30/15 Page: 2 of 4 PAGEID #: 45

Revised Code 2307.80.

4. Defendant, Smith & Wesson, negligently failed to actively warn the public so as to
prevent the exposure of firearm’s owners or others to the dangerous and hazardous condition
created by the failure of the safety lock mechanism, causing substantial injury to Plaintiff.

5. The subject Walther PPK/S (.380) pistol was defective and unreasonably
dangerous when placed into the stream of commerce by Defendant, Smith & Wesson, by reason of

the following product defects:

1.

Manufacturing Defect

The subject Walther PPK/S (.380) pistol was defective in manufacture and
construction as defined in Ohio Revised Code 2307.74;

Design Defect

‘The Walther PPK/S (.380) pistol was defective in design or formulation as

defined in Ohio Revised Code 2307.75 in that;

Consumer Expectation Standard

The product was defective because it did not conform to the representations
made by Defendant, Smith & Wesson, as defined in Ohio Revised Code

"2307.77;

Risk Benefit Standard

The foreseeable risks associated with the design of the Walther PPK/S
(.380) pistol, as defined in Ohio Revised Code 2307.75, exceeded the
benefits associated with that design or formulation; and

Warming Defect

The subject Walther PPK/S (.380) pistol was defective due to inadequate
warning or instruction, as they are defined in Ohio Revised Code 23 07.76,
in that Defendant, Smith & Wesson failed to provide adequate warning or
instruction that a manufacturer or seller exercising reasonable care would
have provided conceming the risk of injury and likely seriousness of harm
for use of the product.

6. As a proximate result of the defective nature of the subject Walther PPK/S (.3 80)
pistol designed, manufactured and otherwise introduced into the stream of commerce by
Defendant, Smith & Wesson, Plaintiff, Daniel J. Click, suffered serious and permanent injuries
and damages as follows:

Case: 1:15-cv-00210-TSB Doc #: 2 Filed: 03/30/15 Page: 3 of 4 PAGEID #: 46

a Severe and permanent injuries;

b. Great pain and suffering both physical and emotional, and loss of
ability to perform usual functions with said pain, suffering and loss
of ability to perform usual fictions reasonably certain to continue
in the future;

c, Reasonable and necessary medical expenses in an amount
exceeding $46,223.10, as well as further medical expenses to be
incurred in the future.

7. _The conduct of Defendant, Smith & Wesson, in designing, manufacturing and
supplying the subject Walther PPK/S (.380) pistol, used by Plaintiff, Daniel J. Click, on November
17, 2012, constitutes misconduct by the manufacturer or supplier that manifested a flagrant
disregard for the safety of the persons who might be harmed by the product in question, such that
an award of punitive damages against Defendant, Smith & Wesson, pursuant to Ohio Revised

Code 2307.80 is proper in this case.
WHEREFORE, Plaintiff, Daniel J. Click, pursuant to Ohio Revised Code Sections

2309.01 and 2307.80, demands judgment against Defendant, Smith & Wesson, for compensatory
and punitive damages in an amount in excess of $25,000.00 and for such attomey’s fees as the

court deems reasonable.

Respectfully Submitted,

DYER, GAROFALO, MANN & SCHULTZ

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Case: 1:15-cv-00210-TSB Doc #: 2 Filed: 03/30/15 Page: 4 of 4 PAGEID #: 47

JURY DEMAND

Now comes Plaintiff, by and through counsel, and hereby demands a trial by jury on all

issues of this matter.

Respectfully Submitted,

DYER, GAROFALO, MANN & SCHULTZ

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